                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

LEAGUE OF WOMEN VOTERS OF                         )
TENNESSEE, ET AL.,                                )
                                                  )
       Plaintiffs,                                )
                                                  )
v.                                                )      Civil No. 3:19-cv-00385
                                                  )      Judge Trauger
TRE HARGETT, ET AL.,                              )
                                                  )
       Defendants.                                )

                                         ORDER

       It is hereby ORDERED that the initial case management conference in this case is hereby

RESET for Monday, November 4, 2019 at 3:00 p.m.

       It is so ORDERED.

       ENTER this 16th day of October 2019.



                                                  ________________________________
                                                  ALETA A. TRAUGER
                                                  U.S. District Judge




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